Case 1:16-cV-00180-BR-SPB Document 15 Filed 04/12/17 Page 1 of 1

UN|TED STATES DlSTR|CT COURT
FOR THE WESTERN DlSTRlCT OF PENNSYLVAN|A

CONRAD C. BlELEW|CZ, ADM|N|STRATOR ;
OF THE ESTATE OF JOSEPH BlELEW|CZ,

DECEASED

Plaintiff

v. § Number: 16-180 (Erie)
. Magistrate Judge:

M|CHAEL J. WALT, D.O.; : Susan Paradise Baxter
DlANE KENGERSKY, PA-C; :
TR|SHA WR|GHT, R.N.

Defendants

ORDER OF COURT

---iLt .
AND NOW, this {_7_2 day of 39 gil , 2017, upon consideration

of Defendants’ Motion to Dismiss, or in the A|ternative, for Summary Judgment, it is hereby
ORDERED, DECREED and ADJUDGED that

Defendants' Motion to Dismiss P|aintiff‘s Comp|aint naming. N|ichae| J. Wa|t, D.O.,
Diane Kengersky, PA-C, and Trisha Wright, R.N. (employees of the United States) is
GRANTED. P|aintifi’s Comp|aint is D|SMlSSED Without prejudice as Plaintiff may choose

to proceed with a Federa| Tort C|aims Act claim.

%vi/@Ma/ £,FZMM”WL,

v v
United States iii-mt Judge J_

